


  Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, an opinion and order of this Court dated August 14, 1995 (People v DeFreitas, 213 AD2d 96 [1995]), affirming a judgment of the County Court, Nassau County, rendered June 9, 1992.
 

  Ordered that the application is denied.
 

  The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745 [1983]; People v Stultz, 2 NY3d 277 [2004]).
 

  Mastro, J.P., Rivera, Dillon and Cohen, JJ., concur.
 
